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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE:       FEMA TRAILER                    *      MDL NO. 1873
             FORMALDEHYDE PRODUCTS *
             LIABILITY LITIGATION            *      SECTION “N” (5)
                                             *
                                             *      JUDGE ENGELHARDT
                                             *      MAGISTRATE CHASEZ
                                             *
THIS DOCUMENT PERTAINS TO                    *
                                             *
CIVIL CASE NOS. 09-7792, 09-7793, 09-7794, *
09-7795, 09-7796, 09-7797, 09-7798, 09-7799, *
09-7800, 09-7801, 09-7802, 09-7803, 09-7804, *
09-7805, 09-7806, 09-7807, 09-7808, 09-7809, *
09-7810, 09-7811, 09-7812, 09-7813, 09-7814, *
09-7815, 09-7816, 09-7817, 09-7818, 09-7819, *
09-7820, 09-7821, 09-7822, 09-7823, 09-7824, *
09-7825, 09-7826, 09-7827, 09-7828, 09-7829, *
09-7830, 09-7831, 09-7832, 09-7833, 09-7834, *
09-7835, 09-7836, 09-7837, 09-7838, 09-7839, *
09-7840, 09-7841, 09-7842, 09-7843, 09-7844, *
09-7845, 09-7846, 09-7847, 09-7848, 09-7849, *
09-7850, 09-7851, 09-7852, 09-7853, 09-7854, *
09-7855, 09-7856, 09-7857, 09-7858, 09-7859, *
09-7887, 09-7889, 09-7890, 09-7891, 09-7892, *
09-7893, 09-7894, 09-7895, 09-7896, 09-7897, *
09-7898, 09-7899, 09-7903, 09-7904, 09-7905, *
09-7906, 09-7907, 09-7908, 09-7909, 09-7910, *
09-7911, 09-7912, 09-7913, 09-7914, 09-7916, *
09-7917, 09-7918, 09-7919, 09-7920, 09-7921, *
09-7922, 09-7924, 09-7925, 09-7960, 09-7961, *
09-7962, 09-7963, 09-7964, 09-7965, 09-7966, *
09-7967, 09-7971, 09-7972, 09-7973, 09-7974, *
09-7977, 09-7978, 09-7980, 09-7983, 09-7984, *
09-7987, 09-7990, 09-7991                    *

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                           ORDER

      Considering Plaintiffs’ Motion to Extend Time to Serve Defendants:

      IT IS ORDERED that Plaintiffs’ Motion is GRANTED;



                                          1
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      IT IS FURTHER ORDERED that the deadline for Plaintiffs to perfect service on

all defendants in the above civil action numbers is extended until

      .

      New Orleans, Louisiana this ___ day of ________________, 2010.



                                                ________________________________
                                                JUDGE KURT D. ENGELHARDT




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